        Case 1:09-vv-00489-UNJ Document 131 Filed 12/01/17 Page 1 of 12




    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                        No. 09-489V
                                  Filed: November 6, 2017

* * * * * * * * * * * * * * *
DULCE AND SEAN REILLY, parents          *            Special Master Sanders
and natural guardians of E.R., a minor, *
                                        *            Decision on Proffer; Damages; Diphtheria-
                                        *            Tetanus-Acellular-Pertussis (“DTaP”)
                      Petitioners,      *            Vaccine; Infantile Spasms.
                                        *
v.                                      *
                                        *
SECRETARY OF HEALTH                     *
AND HUMAN SERVICES,                     *
                                        *
                                        *
                      Respondent.       *
* * * * * * * * * * * * * * *

Edward M. Kraus, Law Offices of Chicago Kent, Chicago, IL, for Petitioners.
Ryan D. Pyles, United States Department of Justice, Washington, DC, for Respondent.

                            DECISION AWARDING DAMAGES1

       On July 27, 2009, Dulce and Sean Reilly (“Petitioners”) filed a petition on behalf of their
minor child, E.R., pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C.
§§ 300aa-10 to -34 (2012). Petitioners allege that the diphtheria-tetanus-acellular-pertussis
(“DTaP”) vaccine administered on June 21, 2007 caused E.R. to suffer from a seizure disorder.
Ruling Entitlement (May 31, 2016) at 1-2, ECF No. 107.

1
 This decision shall be posted on the United States Court of Federal Claims’ website, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), a party has 14 days to identify and move to delete medical or other information that
satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a
motion for redaction must include a proposed redacted decision. If, upon review, the
undersigned agrees that the identified material fits within the requirements of that provision, such
material will be deleted from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3758, codified as amended, 42 U.S.C. §§ 300aa-10 to -34 (2012)
[hereinafter “Vaccine Act” or “the Act”]. Hereinafter, individual section references will be to 42
U.S.C. § 300aa of the Act.
        Case 1:09-vv-00489-UNJ Document 131 Filed 12/01/17 Page 2 of 12




       Special Master Hamilton-Fieldman issued a Ruling on Entitlement on May 31, 2016. Id.
She held that Petitioners’ theory and medical records satisfied the three-prong test in Althen v.
Secretary of Health and Human Services, 418 F.2d 1274, 1278 (Fed. Cir. 2005), and Petitioners
were therefore entitled to compensation. Id. at 19-22.

       On June 22, 2016, Special Master Hamilton-Fieldman issued a Damages Order
encouraging the parties to identify and provide information that will be “necessary to assess the
appropriate amount of compensation to be awarded in this case.” Dam. Order at 7, ECF No. 111.
The case was reassigned to the undersigned on January 10, 2017. Not. Reassignment, ECF No.
115.

        Respondent filed a Proffer on Award of Compensation (“Proffer”) on November 2, 2017.
Proffer, ECF No. 126. Based on the record as a whole, the undersigned finds that Petitioners are
entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the Proffer, attached as Appendix A, the undersigned
awards Petitioners:

       A. A lump sum payment of $1,268,787.00, (representing compensation for lost
          future earnings ($750,984.00), pain and suffering ($250,000.00), and life care
          expenses for Year One ($267,803.00)), in the form of a check payable to
          [P]etitioners as guardians/conservators of the estate of E.R., for the benefit of
          E.R.; and

       B. A lump sum payment of $130,000.00, representing compensation for past
          unreimbursable expenses, [in the form of a check] payable to Dulce Reilly and
          Sean Reilly, [P]etitioners; and

       C. An amount sufficient to purchase an annuity contract, subject to the conditions
          described [in Section II.C.], that will provide payments for the life care items
          contained in the life care plan, as illustrated by the chart [attached to the
          Proffer], and paid to the life insurance company from which the annuity will be
          purchased.

Proffer 3-5.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT herewith.3

       IT IS SO ORDERED.


3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                2
Case 1:09-vv-00489-UNJ Document 131 Filed 12/01/17 Page 3 of 12



                            s/Herbrina D. Sanders
                            Herbrina D. Sanders
                            Special Master




                               3
        Case 1:09-vv-00489-UNJ Document 131 Filed 12/01/17 Page 4 of 12



                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


DULCE and SEAN REILLY, parents and
natural guardians of E.R., a minor,

               Petitioners,
                                                       No. 09-489V
v.                                                     Special Master Herbrina Sanders
                                                       ECF
SECRETARY OF HEALTH AND
HUMAN SERVICES,

               Respondent.


             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       Respondent submits the following recommendations regarding items of compensation to

be awarded under the Vaccine Act.

I. Items of Compensation

       A. Life Care Items

       The parties engaged life care planners Tresa Johnson, RN, BSN, CNLCP, and M.

Virginia Walton, RN, MSN, FNP, CNLCP, to provide an estimation of E.R.’s future

vaccine-injury related needs, and the parties’ planners came to a joint consensus regarding

appropriate items of care. All items of compensation identified by the parties’ joint life care plan

dated October 25, 2017, are supported by the evidence, and are illustrated by the chart entitled

Summary of Life Care Items, attached hereto as Tab A. Respondent proffers that E.R. should be

awarded all items of compensation set forth in the joint life care plan and illustrated by the chart

attached at Tab A. Petitioners agree.




                                                  1
         Case 1:09-vv-00489-UNJ Document 131 Filed 12/01/17 Page 5 of 12



         B. Lost Earnings

         The parties agree that based upon the evidence of record, E.R. will never be gainfully

employed. Therefore, respondent proffers that E.R. should be awarded full lost earnings as

provided under the Vaccine Act, 42 U.S.C. § 300aa-15(a)(3)(B). Respondent proffers that the

appropriate award for E.R.’s lost future earnings is $750,984.00 at net present value. Petitioners

agree.

         C. Pain and Suffering

         Respondent proffers that E.R. should be awarded $250,000.00 for actual pain, suffering,

and emotional distress, consistent with the statutory cap on awards for this element of damages.

See 42 U.S.C. § 300aa-15(a)(4). Petitioners agree.

         D. Past Unreimbursable Expenses

         Evidence supplied by petitioners document their expenditure of past unreimbursable

expenses related to E.R.’s vaccine-related injury. Respondent proffers that petitioners should be

awarded past unreimbursable expenses in the amount of $130,000.00. Petitioners agree.

         E.     Medicaid Lien

         To the best of respondent’s knowledge and upon the representation of petitioners, E.R.

has never received Medicaid benefits. Accordingly, there is no Medicaid lien.

         F.     Attorneys’ Fees and Costs

         This proffer does not address final attorneys’ fees and costs. Petitioners are entitled to

reasonable attorneys’ fees and costs, to be determined at a later date upon petitioners filing

substantiating documentation.




                                                   2
           Case 1:09-vv-00489-UNJ Document 131 Filed 12/01/17 Page 6 of 12



II. Form of the Award

       The parties recommend that the compensation provided to E.R. should be made through a

combination of one-time lump sum payments and future annuity payments as described below,

and request that the Special Master’s decision and the Court’s judgment award the following for

all compensation1 available under 42 U.S.C. § 300aa-15(a).

       Respondent proffers and petitioners agree that an award of compensation include the

following elements:

       A. A lump sum payment of $1,268,787.00, (representing compensation for lost future

earnings ($750,984.00), pain and suffering ($250,000.00), and life care expenses for Year One

($267,803.00)), in the form of a check payable to petitioners as guardians/conservators of the

estate of E.R., for the benefit of E.R. No payment shall be made until petitioners provide

respondent with documentation establishing that they have been appointed as the

guardians/conservators of the estate of E.R.;

       B. A lump sum payment of $130,000.00, representing compensation for past

unreimbursable expenses, payable to Dulce Reilly and Sean Reilly, petitioners; and

       C. An amount sufficient to purchase an annuity contract,2 subject to the conditions

described below, that will provide payments for the life care items contained in the life care plan,

as illustrated by the chart at Tab A, attached hereto, and paid to the life insurance company3 from


       1
          Should E.R. die prior to entry of judgment, respondent would oppose any award for
future medical expenses, future lost earnings and future projected pain and suffering and the
parties reserve the right to move the Court for appropriate relief.
       2
         To satisfy the conditions set forth herein, in respondent’s discretion, respondent may
purchase one or more annuity contracts from one or more life insurance companies.
       3
          The Life Insurance Company must have a minimum of $250,000,000 capital and
surplus, exclusive of any mandatory security valuation reserve. The Life Insurance Company
must have one of the following ratings from two of the following rating organizations:


                                                 3
           Case 1:09-vv-00489-UNJ Document 131 Filed 12/01/17 Page 7 of 12



which the annuity will be purchased.4 Compensation for Year Two (beginning on the first

anniversary of the date of judgment) and all subsequent years shall be provided through

respondent’s purchase of an annuity, which annuity shall make payments directly to petitioners

as guardian/conservators of the estate of E.R., only so long as E.R. is alive at the time a

particular payment is due. At the Secretary’s sole discretion, the periodic payments may be

provided to petitioners in monthly, quarterly, annual or other installments. Annual totals set

forth in the far-right column of the chart at Tab A describe only the total yearly sum to be paid

for the benefit of E.R. and do not require that the payment be made in one annual installment.

                 1.      Growth Rate

       Respondent proffers that a four percent (4%) growth rate should be applied to all life care

items. Thus, the benefits illustrated in the chart at Tab A that are to be paid through annuity

payments should grow at four percent (4%) compounded annually from the date of judgment.

                 2.      Life-Contingent Annuity

           Petitioners as guardians/conservators of the estate of E.R. will continue to receive the

annuity payments from the Life Insurance Company only so long as E.R. is alive at the time that




                 a. A.M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;

                 b. Moody's Investor Service Claims Paying Rating: Aa3, Aa2, Aa1, or Aaa;

                 c. Standard and Poor’s Corporation Insurer Claims-Paying Ability Rating: AA-,
                 AA, AA+, or AAA;

                 d. Fitch Credit Rating Company, Insurance Company Claims Paying Ability
                 Rating: AA-, AA, AA+, or AAA.
       4
        Petitioners authorize the disclosure of certain documents filed by the petitioners in this
case consistent with the Privacy Act and the routine uses described in the National Vaccine
Injury Compensation Program System of Records, No. 09-15-0056.



                                                   4
        Case 1:09-vv-00489-UNJ Document 131 Filed 12/01/17 Page 8 of 12



a particular payment is due. E.R.’s estate shall provide written notice to the Secretary of Health

and Human Services and the Life Insurance Company within twenty (20) days of E.R.’s death.

               3.      Guardianship

       No payments shall be made until petitioners provide respondent with documentation

establishing that they have been appointed as the guardians/conservators of E.R.’s estate. If

petitioners are not authorized by a court of competent jurisdiction to serve as

guardians/conservators of the estate of E.R., any such payment shall be made to the party or

parties appointed by a court of competent jurisdiction to serve as guardian(s)/conservator(s) of

the estate of E.R. upon submission of written documentation of such appointment to the

Secretary.

III. Summary of Recommended Payments Following Judgment

       A.      Lump Sum paid to petitioners as guardians/conservators
               of E.R.’s estate, for the benefit of E.R.:                           $ 1,268,787.00

       B.      Lump sum paid to petitioners:                                         $ 130,000.00

       C.      An amount sufficient to purchase the annuity contract
               described above in section II. C.

       D.      Reasonable final attorneys’ fees and litigation costs:                           TBD

                                              Respectfully submitted,

                                              CHAD A. READLER
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              CATHARINE E. REEVES
                                              Deputy Director
                                              Torts Branch, Civil Division




                                                 5
      Case 1:09-vv-00489-UNJ Document 131 Filed 12/01/17 Page 9 of 12



                                  HEATHER L. PEARLMAN
                                  Assistant Director
                                  Torts Branch, Civil Division

                                  s/ RYAN D. PYLES
                                  RYAN D. PYLES
                                  Trial Attorney
                                  Torts Branch, Civil Division
                                  U.S. Department of Justice
                                  P.O. Box 146
                                  Benjamin Franklin Station
                                  Washington, D.C. 20044-0146
                                  Tel: (202) 616-9847

DATED: November 2, 2017




                                     6
                                         Case 1:09-vv-00489-UNJ Document 131 Filed 12/01/17 Page 10 of 12                                              TAB A


       Pet. Ethan Reilly
       D.O.B. 12/15/2006

              DATE:         10/25/17
              TIME:        10:01 AM

       SUMMARY OF LIFE CARE ITEMS - JOINT LIFE CARE PLAN dated October 25, 2017

ITEM OF CARE           Insurance       Medical   Ancilliary   Medications    Supplies       Home      Transportation          Home        TOTALS        TOTALS OF
                                         Care     Services                                Services                     Modifications       of Items     4.0% ITEMS
                                                                                                                                        with a 4.0%    & APPLYING
                                                                                                                                       Growth Rate    THE GROWTH
GROWTH RATE                    4.0%      4.0%         4.0%           4.0%        4.0%         4.0%             4.0%            4.0%                           RATE

 AGE           YEAR

  11            2017        6,000.00      0.00     7,778.00       3,591.50    9,941.97   137,760.00         2,731.04      100,000.00        267,803         267,803
  12            2018        6,000.00      0.00     9,478.00       3,591.50    3,200.38   137,760.00         2,731.04            0.00        162,761         169,271
  13            2019        6,000.00      0.00     9,478.00       3,591.50    3,200.38   137,760.00         2,731.04            0.00        162,761         176,042
  14            2020        6,000.00      0.00     9,478.00       3,591.50    3,200.38   137,760.00         2,731.04            0.00        162,761         183,084
  15            2021        6,000.00      0.00     9,478.00       3,591.50    3,200.38   137,760.00         2,731.04            0.00        162,761         190,407
  16            2022        6,000.00      0.00    91,750.00       3,591.50    3,200.38   137,760.00         2,731.04            0.00        245,033         298,120
  17            2023        6,000.00      0.00    91,750.00       3,591.50    3,200.38   137,760.00         2,731.04            0.00        245,033         310,045
  18            2024        6,000.00      0.00    91,750.00       3,591.50    3,200.38   137,760.00         2,731.04            0.00        245,033         322,447
  19            2025        6,000.00      0.00    91,750.00       3,591.50    3,200.38   137,760.00         2,731.04            0.00        245,033         335,344
  20            2026        6,000.00      0.00    91,750.00       3,591.50    3,200.38   137,760.00         2,731.04            0.00        245,033         348,758
  21            2027        6,000.00      0.00    91,750.00       3,591.50    3,200.38   137,760.00         2,731.04            0.00        245,033         362,709
  22            2028        6,000.00      0.00    91,750.00       3,591.50    3,200.38   137,760.00         2,731.04            0.00        245,033         377,217
  23            2029        9,189.76      0.00    11,888.00       3,591.50    3,200.38   144,000.00           119.84            0.00        171,989         275,361
  24            2030        9,189.76      0.00    11,888.00       3,591.50    3,200.38   144,000.00           119.84            0.00        171,989         286,375
  25            2031        9,189.76      0.00     8,290.00       3,591.50    3,200.38   144,000.00           119.84            0.00        168,391         291,600
  26            2032       13,310.76    424.40     8,290.00       3,338.01    3,200.38   144,000.00           119.84            0.00        172,683         310,993
  27            2033       13,456.44    424.40     8,290.00       3,338.01    3,200.38   144,000.00           119.84            0.00        172,829         323,706
  28            2034       13,677.48    424.40     8,290.00       3,338.01    3,200.38   144,000.00           119.84            0.00        173,050         337,084
  29            2035       13,863.84    424.40     8,290.00       3,338.01    3,200.38   144,000.00           119.84            0.00        173,236         350,945
  30            2036        9,577.68    424.40     8,290.00       2,794.01    3,200.38   144,000.00           119.84            0.00        168,406         354,807
  31            2037        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286         366,545
  32            2038        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286         381,207
  33            2039        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286         396,455
  34            2040        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286         412,313
  35            2041        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286         428,806
  36            2042        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286         445,958
  37            2043        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286         463,796
  38            2044        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286         482,348
  39            2045        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286         501,642
  40            2046        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286         521,708



                                                                                                                                                      PAGE 1
                                         Case 1:09-vv-00489-UNJ Document 131 Filed 12/01/17 Page 11 of 12                                              TAB A


       Pet. Ethan Reilly
       D.O.B. 12/15/2006

              DATE:         10/25/17
              TIME:        10:01 AM

       SUMMARY OF LIFE CARE ITEMS - JOINT LIFE CARE PLAN dated October 25, 2017

ITEM OF CARE           Insurance       Medical   Ancilliary   Medications    Supplies       Home      Transportation          Home        TOTALS        TOTALS OF
                                         Care     Services                                Services                     Modifications       of Items     4.0% ITEMS
                                                                                                                                        with a 4.0%    & APPLYING
                                                                                                                                       Growth Rate    THE GROWTH
GROWTH RATE                    4.0%      4.0%         4.0%           4.0%        4.0%         4.0%             4.0%            4.0%                           RATE

 AGE           YEAR

  41            2047        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          542,576
  42            2048        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          564,279
  43            2049        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          586,850
  44            2050        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          610,324
  45            2051        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          634,737
  46            2052        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          660,127
  47            2053        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          686,532
  48            2054        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          713,993
  49            2055        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          742,553
  50            2056        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          772,255
  51            2057        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          803,145
  52            2058        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          835,271
  53            2059        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          868,682
  54            2060        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          903,429
  55            2061        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          939,566
  56            2062        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286          977,149
  57            2063        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286        1,016,235
  58            2064        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286        1,056,884
  59            2065        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286        1,099,159
  60            2066        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286        1,143,126
  61            2067        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286        1,188,851
  62            2068        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286        1,236,405
  63            2069        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286        1,285,861
  64            2070        9,577.68    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        167,286        1,337,296
  65            2071        5,175.44    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        162,884        1,354,188
  66            2072        5,175.44    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        162,884        1,408,355
  67            2073        5,175.44    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        162,884        1,464,690
  68            2074        5,175.44    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        162,884        1,523,277
  69            2075        5,175.44    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        162,884        1,584,208
  70            2076        5,175.44    424.40     7,170.00       2,794.01    3,200.38   144,000.00           119.84            0.00        162,884        1,647,577



                                                                                                                                                      PAGE 2
                                            Case 1:09-vv-00489-UNJ Document 131 Filed 12/01/17 Page 12 of 12                                                   TAB A


        Pet. Ethan Reilly
        D.O.B. 12/15/2006

               DATE:         10/25/17
               TIME:        10:01 AM

        SUMMARY OF LIFE CARE ITEMS - JOINT LIFE CARE PLAN dated October 25, 2017

ITEM OF CARE            Insurance         Medical     Ancilliary   Medications       Supplies       Home      Transportation          Home        TOTALS        TOTALS OF
                                            Care       Services                                   Services                     Modifications       of Items     4.0% ITEMS
                                                                                                                                                with a 4.0%    & APPLYING
                                                                                                                                               Growth Rate    THE GROWTH
GROWTH RATE                     4.0%         4.0%          4.0%           4.0%           4.0%         4.0%             4.0%            4.0%                           RATE

 AGE            YEAR

   71            2077        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        1,713,480
   72            2078        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        1,782,019
   73            2079        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        1,853,300
   74            2080        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        1,927,432
   75            2081        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        2,004,529
   76            2082        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        2,084,710
   77            2083        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        2,168,099
   78            2084        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        2,254,822
   79            2085        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        2,345,015
   80            2086        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        2,438,816
   81            2087        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        2,536,369
   82            2088        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        2,637,823
   83            2089        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        2,743,336
   84            2090        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        2,853,070
   85            2091        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        2,967,193
   86            2092        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        3,085,880
   87            2093        5,175.44       424.40      7,170.00       2,794.01       3,200.38   144,000.00           119.84            0.00        162,884        3,209,315

                              608,132       26,313     1,170,146        229,277       253,171    11,013,120           40,562         100,000     13,440,721       81,065,682

                               4.52%        0.20%         8.71%          1.71%          1.88%       81.94%            0.30%           0.74%                         100.00%

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